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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,

v                                                           Case No. 16-20594
                                                            HON. MARK A. GOLDSMITH,
D1- RENE EID,

            Defendant.
_______________________________/

                             ORDER STRIKING STIPULATION

       On May 8, 2018 a stipulation to adjourn sentencing was filed [Dkt. 63].

       Pursuant to E.D. Mich. Local Rules Appendix ECF Rule 11(a), a proposed stipulation

and order must be submitted as a Word or WordPerfect Document via the link under the

Utilities section of CM/ECF. The stipulation at issue is not in compliance with the rule.

       IT IS ORDERED, that the stipulation [Dkt. #63] is STRICKEN.

       SO ORDERED.

Dated: May 8, 2018                                   s/Mark A. Goldsmith
       Detroit, Michigan                             MARK A. GOLDSMITH
                                                     United States District Judge

                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon counsel of record
and any unrepresented parties via the Court’s ECF System to their respective email or First Class
U.S. mail addresses disclosed on the Notice of Electronic Filing on May 8, 2018.

                                                     s/Karri Sandusky
                                                     Case Manager
